✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications


                                       UNITED STATES DISTRICT COURT
                                                  NORTHERN DISTRICT OF IOWA
           UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.
                   ANDRE CORBETT                                               Case Number:           CR 13-42-1-CJW
   Revocation of Probation                                                    USM Number:            46122-424
   Revocation of Supervised Release                                           Brian Dean Johnson
   Modification of Supervision Conditions                                     Defendant’s Attorney

   AMENDED REVOCATION JUDGMENT
          Date of Most Recent Judgment:



THE DEFENDANT:
 admitted guilt to violation(s)                                                                                       of the term of supervision.

 was found in violation of                                               1b, 1c, and 2                                       after denial of guilt.

The defendant is adjudicated guilty of these violations:
Violation Number                    Nature of Violation                                                                Violation Ended
1b-c                                New Law Violation                                                                  04/01/2021
2                                   Failure to Report Law Enforcement Contact                                          03/27/2021




The defendant is sentenced as provided in pages 2 through               3         of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
 The defendant was not found in violation of 1a                                                          and is discharged as to such violation(s).
 The Court did not make a finding regarding violation(s)
It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay
restitution, the defendant must notify the court and United States Attorney of material changes in economic circumstances.


C.J. Williams
United States District Judge
Name and Title of Judge                                                     Signature of Judge

May 12, 2021                                                                 May 12, 2021
Date of Imposition of Judgment                                              Date



                    Case 1:13-cr-00042-CJW-MAR Document 78 Filed 05/12/21 Page 1 of 3
✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications
                                                                                                                 Judgment—Page   2   of   3
     DEFENDANT:                 ANDRE CORBETT
     CASE NUMBER:               CR 13-42-1-CJW

                                                                    PROBATION
            The defendant’s supervision is continued with the addition of special condition number(s):




                                                                IMPRISONMENT
            No imprisonment is ordered as part of this modification.

            The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total
             term of: 24 months.




            The court makes the following recommendations to the Federal Bureau of Prisons:
             It is recommended that the defendant be designated to a Bureau of Prisons facility in close proximity to the defendant's
             family which is commensurate with the defendant's security and custody classification needs.




            The defendant is remanded to the custody of the United States Marshal.
            The defendant must surrender to the United States Marshal for this district:

                 at                                        a.m.          p.m.           on                                    .

                 as notified by the United States Marshal.

            The defendant must surrender for service of sentence at the institution designated by the Federal Bureau of Prisons:
                 before 2 p.m. on                                                     .
                 as notified by the United States Marshal.
                 as notified by the United States Probation or Pretrial Services Office.



                                                                      RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                                 to

at                                                      with a certified copy of this judgment.



                                                                                                        UNITED STATES MARSHAL

                                                                                  By
                                                                                                     DEPUTY UNITED STATES MARSHAL



                    Case 1:13-cr-00042-CJW-MAR Document 78 Filed 05/12/21 Page 2 of 3
✎AO 245D (Rev. 11/16) Judgment in a Criminal Case for Revocations/Modifications

                                                                                   Judgment—Page   3   of   3
DEFENDANT:                 ANDRE CORBETT
CASE NUMBER:               CR 13-42-1-CJW

                                                      SUPERVISED RELEASE

    Upon release from imprisonment, No Term of Supervised Release is reimposed.




               Case 1:13-cr-00042-CJW-MAR Document 78 Filed 05/12/21 Page 3 of 3
